                   UNITED STATES DISTRICT COURT
             FOR THE MIDDLE DISTRICT OF NORTH CAROLINA
                      WINSTON-SALEM DIVISION




FEDERAL TRADE COMMISSION,
STATE OF CALIFORNIA, STATE OF
COLORADO, STATE OF ILLINOIS,
STATE OF INDIANA, STATE OF IOWA,
STATE OF MINNESOTA, STATE OF                     Case No. 1:22-cv-00828-TDS-JEP
NEBRASKA, STATE OF OREGON,
STATE OF TENNESSEE, STATE OF
TEXAS, STATE OF WASHINGTON, and
STATE OF WISCONSIN,                              [PROPOSED] ORDER
               Plaintiffs,
        v.
SYNGENTA CROP PROTECTION AG,
SYNGENTA CORPORATION,
SYNGENTA CROP PROTECTION, LLC,
and CORTEVA, INC.,
               Defendants.



       Upon consideration of Plaintiffs’ Consent Motion for an Extension of Time to

Respond to Defendants’ Motions to Dismiss the Amended Complaint, it is hereby

ORDERED that the Motion is GRANTED. Plaintiffs’ time to oppose or otherwise

respond to any motion to dismiss Plaintiffs’ Amended Complaint shall be extended by

seven (7) days, to a total of twenty-eight (28) days following filing of the motion.


Dated: January ___, 2023                         _________________________________
                                                 UNITED STATES DISTRICT JUDGE




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